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                                 Exhibit D
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                                                                   Response
             Delegate              District   Asserted   Waived
                                                                   Pending
          David B. Albo             42nd         X

           Robert B. Bell           58th         X

           Betsy B. Carr            69th         X

           Mark L. Cole             88th         X

         M. Kirkland Cox            66th         X

          T. Scott Garrett          23rd         X

        Gregory D. Habeeb            8th         X

          Riley E. Ingram           62nd         X

          Matthew James             80th                   X

        Johnny S. Joannou           79th                   X

         R. Steven Landes           25th         X

       James M. LeMunyon            67th         X

       L. Scott Lingamfelter        31st         X

       Daniel W. Marshall III       14th         X

        Robert G. Marshall          13th                              X

    James P. (Jimmie) Massie III    72nd         X

            Joe T. May              33rd         X

       Jennifer L. McClellan        71st                   X

        Delores L. McQuinn          70th         X

         Jackson H. Miller          50th         X

        Joseph D. Morrissey         74th                              X

       John M. O’Bannon III         73rd         X

       Christopher K. Peace         97th         X
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         Brenda L. Pogge      96th        X

         Edward T. Scott      30th        X

         Mark D. Sickles      43rd                      X

        Lionell Spruill Sr.   77th                                    X

         David J. Toscano     57th        X

          Jeion A. Ward       92nd                                    X
